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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     REARDEN LLC, et al.,                               Case No. 17-cv-04006-JST
                                                        Plaintiffs,
                                   8
                                                                                            ORDER DENYING DEFENDANT
                                                 v.                                         DISNEY'S MOTION IN LIMINE
                                   9
                                                                                            NUMBER SEVEN
                                  10     THE WALT DISNEY COMPANY, et al.,
                                                                                            Re: ECF No. 494
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Now before the Court is Defendant Walt Disney Pictures’s motion for an order precluding

                                  14   Plaintiff Rearden LLC from presenting any evidence or argument regarding any copyright notice

                                  15   on MOVA output files under Federal Rules of Evidence 401, 402, and 403. ECF No. 494. The

                                  16   Court will deny the motion.

                                  17          Disney contends that the copyright notice “does not make the claim that Rearden has a

                                  18   copyright in the Mova Contour software program. Instead, it claims a copyright in output files

                                  19   generated after . . . the Mova Contour software program was complete.” ECF No. 494 at 3–4

                                  20   (citations and emphasis omitted). Disney’s argument is essentially that the copyright notice is not

                                  21   directed to the specific work at issue in this case. See id. at 3 (“The copyright notice that Rearden

                                  22   seeks to introduce at trial is not attached to the Mova Contour software program that Rearden

                                  23   claims was copied and infringed in this case.”). But that does not make the notice irrelevant. As

                                  24   in Broderbund Software, Inc. v. Unison World, Inc., the notice here “implies that the copyright

                                  25   holder claims protection for as much of the work as is allowable under the copyright laws.” 648

                                  26   F. Supp. 1127, 1135 (N.D. Cal. 1986). Thus, the notice has potential evidentiary value.

                                  27          Disney also argues that the copyright notices were “removed before any MOVA output

                                  28   work was delivered to [Disney],” such that Disney could not have seen them. ECF No. 494 at 4.
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                                   1   But Disney’s only evidence for this point is the testimony of Greg LaSalle. See ECF No. 495-2 at

                                   2   4–5.1 LaSalle testified that he used software that automatically removed the copyright notices

                                   3   before transferring the content files to the entity that would give them to Disney. But LaSalle has

                                   4   always contested Rearden’s ownership of the MOVA technology, and thus has his own reasons for

                                   5   wanting to avoid a finding of copyright infringement by either DD3 or Disney. Given that bias,

                                   6   the jury may choose to disbelieve his testimony.

                                   7          The Court concludes that the testimony is relevant and not unduly prejudicial. Disney’s

                                   8   motion is therefore denied.

                                   9          IT IS SO ORDERED.

                                  10   Dated: November 28, 2023
                                                                                       ______________________________________
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                                                                                                     JON S. TIGAR
                                  12                                                           United States District Judge
Northern District of California
 United States District Court




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                                        Disney also cites the deposition testimony of Steve Perlman, but in that testimony Perlman
                                  28   merely acknowledges that it is possible to remove the copyright notice, not that anyone actually
                                       did so.
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